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8                        UNITED STATES DISTRICT COURT
9                       EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA,           Cr. No. 2:07-0248-11 WBS
13                Plaintiff,             ORDER RE: MOTION TO REDUCE
                                         SENTENCE PURSUANT TO 18 U.S.C. §
14       v.                              3582(c)(2)
15   EDWARD FUENTES,
16                Defendant.
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19             Before the court is defendant Edward Fuentes’ Motion

20   for a sentence reduction pursuant to 18 U.S.C. § 3582(c)(2)

21   (“section 3582(c)(2)”) and Amendment 782 to the United States

22   Sentencing Guidelines (“Guidelines”).       (Def.’s Mot. (Docket No.

23   1509).)

24             On March 28, 2011, defendant pled guilty without a plea

25   agreement to one count of conspiracy to distribute and possess

26   with intent to distribute at least fifty grams of methamphetamine

27   and at least five kilograms of cocaine, marijuana, and MDMA in

28   violation of 21 U.S.C. §§ 841(a)(1) and 846 and two counts of use
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1    of a communication facility for the purpose of drug trafficking

2    in violation of 21 U.S.C. § 843(b).       (See Docket No. 816;

3    Judgment (Docket No. 1086).)     The United States Probation Office

4    issued a presentence report in which it recommended a total

5    offense level of 37 and criminal history category of III, and a

6    resulting Guidelines sentencing range of 262 to 327 months, for

7    defendant.    (See Presentence Report at 23.)

8                 The court held an evidentiary hearing with respect to

9    defendant’s Guidelines calculation in December 2011.         (See Docket

10   Nos. 1030-31, 1033.)     In May 2012, the court issued an order in

11   which it found defendant’s total offense level to be 33 and

12   criminal history category to be III, and his Guidelines

13   sentencing range to be 168 to 210 months.       (May 1, 2012 Order

14   (Docket No. 1080).)     Noting that defendant has not “left the

15   Court with the impression that [he will not] resume the kind of

16   criminal activities [he was] involved with before [he was]

17   arrested after [he is] released from prison,” the court upwardly

18   departed from defendant’s Guidelines range and sentenced

19   defendant to 240 months in prison.      (May 7, 2012 Tr. at 52

20   (Docket No. 1124).)
21                In November 2014, the United States Sentencing

22   Commission (“Commission”) promulgated Amendment 782 to the

23   Guidelines, which reduced the base offense level of many drug

24   crimes listed in the Guidelines drug quantity table by two

25   levels.   United States v. Mitchell, Cr. No. 1:12-0199 LJO SKO,

26   2016 WL 4161082, at *1 (E.D. Cal. Aug. 4, 2016).         The Commission
27   voted to make Amendment 782 retroactively applicable.         See

28   U.S.S.G., sup. App’x C, amend. 788 (2014); United States v.
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1    Navarro, 800 F.3d 1104, 1107 (9th Cir. 2015).

2              Defendant contends that Amendment 782 reduced his total

3    offense level to 31, which, in conjunction with his criminal

4    history category, yields an amended Guidelines sentencing range

5    of 135 to 168 months.     (Def.’s Mot. at 3-4.)     Defendant now moves

6    to reduce his sentence to 198 months pursuant to Amendment 782

7    and section 3582(c)(2).     (Id. at 5.)    The government opposes

8    defendant’s Motion.     (Gov’t’s Opp’n (Docket No. 1519).)

9              Section 3582(c)(2) allows the court to “reduce the term

10   of imprisonment” of a defendant who was “sentenced . . . based on

11   a sentencing range that has subsequently been lowered by the

12   Sentencing Commission.”     18 U.S.C. § 3582(c)(2).      The Supreme

13   Court held in Dillon v. United States, 560 U.S. 817 (2010) that

14   section 3582(c)(2) “establishes a two-step inquiry.”         Id. at 826.

15   At step one, the court must determine whether a sentence

16   reduction would be consistent with section 1B1.10 of the

17   Guidelines (“section 1B1.10”).      Id.   “At step two,” the court

18   must “consider any applicable [18 U.S.C.] § 3553(a) factors and

19   determine whether, in its discretion, the reduction authorized by

20   reference to the policies [stated in section 1B1.10] is warranted
21   in whole or in part under the particular circumstances of the

22   case.”   Id. at 827.    At step two, the court “shall consider the

23   nature and seriousness of the danger to any person or the

24   community that may be posed by a reduction in the defendant’s

25   term of imprisonment,” and “may consider [the defendant’s] post-

26   sentencing conduct.”     See U.S.S.G. § 1B1.10, comment. n.1(B).
27             The government concedes, at Dillon step one, that

28   Amendment 782 reduced defendant’s Guidelines sentencing range to
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1    135 to 168 months, and reducing defendant’s sentence would be

2    consistent with section 1B1.10.      (See Gov’t’s Opp’n at 3.)

3              At Dillon step two, however, the government asks the

4    court to exercise its discretion to deny defendant’s Motion.       The

5    government notes, in support of its request, that at the time of

6    sentencing, the court stated that “the totality of the evidence

7    leaves the court convinced that [defendant] was involved with

8    more drugs than the specific quantities established through

9    evidence” and defendant’s sentence was based on “the most

10   conservative estimation.”     (Id. at 5 (quoting May 1, 2012 Order

11   at 14-15).)   The government further notes that defendant: (1)

12   held a leadership role within the Nuestra Familia, a violent

13   criminal organization, (id. at 4 (citing May 1, 2012 Order at 9-

14   11, 33-35)); (2) had previously been convicted of voluntary

15   manslaughter and attempted robbery, (id.; see also Presentence

16   Report at 14); and (3) fought with another prisoner in 2013 and

17   attempted to send gang-related correspondence from prison in

18   2014, (Gov’t’s Opp’n at 6).

19             Defendant cites, as counter-considerations, that his

20   involvement in dealing drugs “was for only a few months” and “he
21   had . . . no connection with drug trafficking outside a

22   relatively small area in Merced.”       (Def.’s Reply at 2 (Docket No.

23   1562).)   Defendant also notes that since being incarcerated, he

24   has participated in a number of educational programs and earned

25   his GED, and was recently transferred to a low-security

26   correctional institution.     (Id. at 2-3.)
27             Upon review of the entire file, and in consideration of

28   the applicable 18 U.S.C. § 3553(a) factors, defendant’s post-
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1    sentencing conduct, and the safety risk to the public, the court

2    agrees with the government that a sentence reduction is not

3    warranted in defendant’s case.      While defendant appears to have

4    made some progress in prison since 2014, his criminal record,

5    gang affiliation, and prison disciplinary history persuade the

6    court that the goals of public safety and ensuring adequate

7    deterrence for defendant’s crimes are still better served by

8    defendant serving the entirety of his sentence.        Defendant’s

9    arguments as to the scope of his crimes are also unavailing, as

10   defendant is already receiving the benefit of “the most

11   conservative estimation” of the amount of drugs he was

12   responsible for.

13             IT IS THEREFORE ORDERED that defendant’s Motion for a

14   sentence reduction pursuant to 18 U.S.C. § 3582(c)(2) be, and the

15   same hereby is, DENIED.

16   Dated:   August 18, 2017

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